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  8
                          UNITED STATES DISTRICT COURT
  9
                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11
    MICHAEL J. BUTALA, Individually             Case No.
 12 and on Behalf of All Others Similarly
    Situated,                                   CLASS ACTION COMPLAINT
 13                                             FOR VIOLATIONS OF THE
                Plaintiff,                      FEDERAL SECURITIES LAWS
 14
           v.
 15
    OWLET, INC. f/k/a SANDBRIDGE
 16 ACQUISITION CORPORATION,
    KURT WORKMAN, KATE
 17 SCOLNICK, KEN SUSLOW,
    DOMENICO DE SOLE, RAMEZ
 18 TOUBASSY, JAMIE WEINSTEIN,
    KRYSTAL KAHLER, and MICHAEL
 19 F. GOSS,
 20              Defendants.
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  1        Plaintiff Michael J. Butala (“Plaintiff”), individually and on behalf of all
  2 others similarly situated, by and through his attorneys, alleges the following upon
  3 information and belief, except as to those allegations concerning Plaintiff, which are
  4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,
  5 among other things, his counsel’s investigation, which includes without limitation:
  6 (a) review and analysis of regulatory filings made by Owlet, Inc. (“Owlet” or the
  7 “Company”) f/k/a Sandbridge Acquisition Corporation (“Sandbridge”) with the
  8 United States (“U.S.”) Securities and Exchange Commission (“SEC”); (b) review
  9 and analysis of press releases and media reports issued by and disseminated by
 10 Owlet; and (c) review of other publicly available information concerning Owlet.
 11                   NATURE OF THE ACTION AND OVERVIEW
 12        1.     This is a class action on behalf of persons and entities: (a) that
 13 purchased or otherwise acquired Owlet securities between March 31, 2021 and
 14 October 4, 2021, inclusive (the “Class Period”); and/or (b) held Sandbridge common
 15 stock held as of June 1, 2021 and were eligible to vote at Sandbridge’s special
 16 meeting on July 14, 2021. Plaintiff pursues claims against the Defendants under the
 17 Securities Exchange Act of 1934 (the “Exchange Act”).
 18        2.     Sandbridge was a special purpose acquisition company formed for the
 19 purpose of effecting a merger, capital stock exchange, asset acquisition, stock
 20 purchase, reorganization, or similar business combination with one or more
 21 businesses.
 22        3.     On July 15, 2021, Sandbridge combined with Owlet Baby Care Inc., a
 23 company that designs and sells products and services for parents to proactively
 24 monitor the health and wellness of their children, and the combined company was
 25 renamed Owlet (the “Business Combination”).
 26        4.     Owlet’s flagship product is called Smart Sock, which is a baby monitor
 27 that allows parents to track an infant’s oxygen levels, heart rate, and sleep trends in
 28 real time using the Owlet application.

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  1        5.     On October 4, 2021, Owlet revealed that it had received a warning
  2 letter from the U.S. Food and Drug Administration (“FDA”), which stated that “the
  3 Company’s marketing of its Owlet Smart Sock product . . . renders [it] a medical
  4 device requiring premarket clearance or approval from FDA.” Owlet has not
  5 obtained such clearance or approval. Moreover, the FDA “requests the Company
  6 cease commercial distribution of the Smart Sock for uses in measuring blood
  7 oxygen saturation and pulse rate where such metrics are intended to identify or
  8 diagnose desaturation and bradycardia using an alarm functionality to notify users
  9 that measurements are outside of preset values.”
 10        6.     On this news, Owlet’s stock price fell $1.29, or 23%, to close at $4.19
 11 per share on October 4, 2021, on unusually heavy trading volume. As a result,
 12 Sandbridge investors who could have voted against the Business Combination and
 13 redeemed their shares at $10.00 per share suffered a loss of $5.81 per share.
 14        7.     Throughout the Class Period, Defendants made materially false and/or
 15 misleading statements, as well as failed to disclose material adverse facts about the
 16 Company’s business, operations, and prospects. Specifically, Defendants failed to
 17 disclose to investors: (1) that Owlet was reasonably likely to be required to obtain
 18 marketing authorization for the Smart Sock because the FDA concluded it was a
 19 medical device; (2) that, as a result, Owlet was reasonably likely to cease
 20 commercial distribution of the Smart Sock in the U.S. until it obtained the requisite
 21 approval; and (3) that, as a result of the foregoing, Defendants’ positive statements
 22 about the Company’s business, operations, and prospects were materially
 23 misleading and/or lacked a reasonable basis.
 24        8.     As a result of Defendants’ wrongful acts and omissions, and the
 25 precipitous decline in the market value of the Company’s securities, Plaintiff and
 26 other Class members have suffered significant losses and damages.
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  1                            JURISDICTION AND VENUE
  2          9.    The claims asserted herein arise under Sections 10(b), 14(a), and 20(a)
  3 of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rules 10b-5 and 14a-4
  4 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5 and 17 C.F.R. §
  5 240.14a-4).
  6          10.   This Court has jurisdiction over the subject matter of this action
  7 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §
  8 78aa).
  9          11.   Venue is proper in this Judicial District pursuant to 28 U.S.C. §
 10 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts
 11 in furtherance of the alleged fraud or the effects of the fraud have occurred in this
 12 Judicial District. Many of the acts charged herein, including the dissemination of
 13 materially false and/or misleading information, occurred in substantial part in this
 14 Judicial District. In addition, Sandbridge’s principal executive offices were located
 15 in this District.
 16          12.   In connection with the acts, transactions, and conduct alleged herein,
 17 Defendants directly and indirectly used the means and instrumentalities of interstate
 18 commerce, including the United States mail, interstate telephone communications,
 19 and the facilities of a national securities exchange.
 20                                        PARTIES
 21          13.   Plaintiff Michael J. Butala, as set forth in the accompanying
 22 certification, incorporated by reference herein, purchased Owlet securities during
 23 the Class Period, and suffered damages as a result of the federal securities law
 24 violations and false and/or misleading statements and/or material omissions alleged
 25 herein.
 26          14.   Defendant Owlet is incorporated under the laws of Delaware with its
 27 principal executive offices located in Lehi, Utah. Owlet’s common stock trades on
 28 the New York Stock Exchange (“NYSE”) under the symbol “OWLT” and its

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  1 warrants trade under the symbol “OWLT WS.” Prior to the Business Combination,
  2 the Company’s Class A common stock traded under the symbol “SBG,” and its
  3 redeemable warrants traded under the symbol “SBG WS.” Also, prior to the
  4 Business Combination, the Company’s principal executive offices were located in
  5 Los Angeles, California.
  6        15.    Defendant Kurt Workman (“Workman”) was the Company’s Chief
  7 Executive Officer (“CEO”) at all relevant times.
  8        16.    Defendant Kate Scolnick (“Scolnick”) was the Company’s Chief
  9 Financial Officer (“CFO”) at all relevant times.
 10        17.    Defendants Workman and Scolnick (collectively the “Individual
 11 Defendants”), because of their positions with the Company, possessed the power
 12 and authority to control the contents of the Company’s reports to the SEC, press
 13 releases and presentations to securities analysts, money and portfolio managers and
 14 institutional investors, i.e., the market. The Individual Defendants were provided
 15 with copies of the Company’s reports and press releases alleged herein to be
 16 misleading prior to, or shortly after, their issuance and had the ability and
 17 opportunity to prevent their issuance or cause them to be corrected. Because of their
 18 positions and access to material non-public information available to them, the
 19 Individual Defendants knew that the adverse facts specified herein had not been
 20 disclosed to, and were being concealed from, the public, and that the positive
 21 representations which were being made were then materially false and/or
 22 misleading. The Individual Defendants are liable for the false statements pleaded
 23 herein.
 24        18.    Defendant Ken Suslow (“Suslow”) was the Chairman of the Board of
 25 Directors of Sandbridge. He solicited and/or permitted the use of his name to solicit
 26 consent or authorization for the Business Combination by issuing the Proxy
 27 Statement.
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  1        19.    Defendant Domenico De Sole (“De Sole”) was a director of Sandbridge
  2 at all relevant times. He solicited and/or permitted the use of his name to solicit
  3 consent or authorization for the Business Combination by issuing the Proxy
  4 Statement.
  5        20.    Defendant Ramez Toubassy (“Toubassy”) was a director of Sandbridge
  6 at all relevant times. He solicited and/or permitted the use of his name to solicit
  7 consent or authorization for the Business Combination by issuing the Proxy
  8 Statement.
  9        21.    Defendant Jamie Weinstein (“Weinstein”) was a director of Sandbridge
 10 at all relevant times. He solicited and/or permitted the use of his name to solicit
 11 consent or authorization for the Business Combination by issuing the Proxy
 12 Statement.
 13        22.    Defendant Krystal Kahler (“Kahler”) was a director of Sandbridge at
 14 all relevant times. She solicited and/or permitted the use of her name to solicit
 15 consent or authorization for the Business Combination by issuing the Proxy
 16 Statement.
 17        23.    Defendant Michael F. Goss (“Goss”) was a director of Sandbridge at all
 18 relevant times. He solicited and/or permitted the use of his name to solicit consent or
 19 authorization for the Business Combination by issuing the Proxy Statement.
 20        24.    Defendants Suslow, De Sole, Toubassy, Weinstein, Kahler, and Goss
 21 are collectively referred to herein as the “Sandbridge Defendants.”
 22                          SUBSTANTIVE ALLEGATIONS
 23                                      Background
 24        25.    Sandbridge was a special purpose acquisition company formed for the
 25 purpose of effecting a merger, capital stock exchange, asset acquisition, stock
 26 purchase, reorganization, or similar business combination with one or more
 27 businesses. It completed its initial public offering (“IPO”) on or about September
 28 14, 2020, selling 23 million units at $10.00 per unit. Each unit consists of one share

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  1 of Sandbridge Class A common stock and one-half of one public warrant of
  2 Sandbridge.
  3         26.     Sandbridge     had     considerable   discretion   in   identifying   and
  4 consummating a business combination, subject to three general limitations imposed
  5 by the Amended and Restated Certificate of Incorporation dated September 14,
  6 2020:
  7                First, Sandbridge must acquire a target business with a fair market
  8                 value equal to at least 80% of the net assets held in the trust account
  9                 following the IPO (excluding the deferred underwriting discounts and
 10                 commissions and taxes payable on the interest earned on the trust
 11                 account).
 12                Second, Sandbridge only had 24 months from the closing date of the
 13                 IPO to complete a business combination, or else its corporate existence
 14                 would cease, except for purposes of winding up its affairs and
 15                 liquidating. Thus, Sandbridge was required to hold the approximately
 16                 $230 million of proceeds from its IPO in a trust account, which were to
 17                 be released only upon the consummation of a business combination or
 18                 liquidation.
 19                Third, if Sandbridge’s stockholders approved an amendment to the
 20                 Certificate of Incorporation that would affect the substance or timing of
 21                 Sandbridge’s obligation to redeem 100% of the public shares if
 22                 Sandbridge did not complete a business combination on time,
 23                 Sandbridge was required to provide the holders of its public shares with
 24                 the opportunity to redeem all or a portion of their public shares upon
 25                 approval of any such amendment.
 26         27.     On July 15, 2021, Sandbridge combined with Owlet Baby Care Inc., a
 27 company that designs and sells products and services for parents to proactively
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  1 monitor the health and wellness of their children, and the combined company was
  2 renamed Owlet (the “Business Combination”).
  3        28.    Owlet’s flagship product is called Smart Sock, which is a baby monitor
  4 that allows parents to track an infant’s oxygen levels, heart rate, and sleep trends in
  5 real time using the Owlet application.
  6                           Materially False and Misleading
  7                      Statements Issued During the Class Period
  8        29.    The Class Period begins on March 31, 2021. On that day, Owlet filed
  9 its Registration Statement on Form S-1 in connection with the Business
 10 Combination. It stated that for the period ended December 31, 2020, Owlet
 11 recognized $71.128 million in revenue from sales in the United States and $4.275
 12 million Internationally. It purported to warn that “the FDA . . . may not agree with
 13 that conclusion [that the Smart Sock is not a medical device] and could require us to
 14 obtain marketing authorization” to sell the Smart Sock:
 15        If the FDA or any other governmental authority were to require
           clearance, approval, certification or other form of marketing
 16        authorization for the Owlet Smart Sock, or for any other product that
           we sell and which we do not believe requires such clearance,
 17        approval, certification or marketing authorization, we could be
           required to cease selling or recall the product pending receipt of such
 18        clearance, approval, certification or marketing authorization from
           the FDA or such other governmental authority, which can be a
 19        lengthy and time-consuming process, and we may also be subject to
           regulatory enforcement action.
 20
           We currently sell the Owlet Smart Sock, which we market for use by
 21        parents of healthy babies to provide peace of mind, and for which we
           have not sought or obtained any marketing authorization from the FDA
 22        or similar authorization, approval, or certification from any other
           governmental authority. In response to inquiries from the FDA and
 23        regulatory authorities in other jurisdictions regarding the marketing of
           the Owlet Smart Sock, we have communicated our belief that the Owlet
 24        Smart Sock is not a medical device and does not require marketing
           authorization from the FDA or approval/certification from such other
 25        regulatory authorities. However, the FDA and certain regulatory
           authorities have expressed they may not agree with that conclusion
 26        and could require us to obtain marketing authorization (or
           approval/certification) to continue to sell the product. Obtaining
 27        authorization to sell the Owlet Smart Sock as a medical device is a
           time-consuming and costly process and we may be precluded from
 28        selling the Owlet Smart Sock if we are required to obtain marketing

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  1        authorization. If granted, a marketing authorization could require
           conditions to sale, for example, a prescription requirement. If the FDA
  2        or other regulatory authorities require such marketing authorization
           (or approval/certification, respectively) for the Owlet Smart Sock, or
  3        for any other product that we sell and which we do not believe requires
           such clearance, approval, certification or marketing authorization, we
  4        could be required to cease selling or recall the product in the
           corresponding jurisdiction pending receipt of marketing
  5        authorization (or approval/certification), which can be a lengthy and
           time-consuming process, and we may also be subject to regulatory
  6        enforcement action. In addition, we may be required to modify the
           product’s functionality or limit our marketing claims for the product,
  7        whether or not we obtain such clearance, approval, certification or
           marketing authorization. In any such event, our business could be
  8        substantially harmed.
  9        30.    On June 21, 2021, Owlet filed its proxy statement on Form 424b3
 10 soliciting votes in favor of the Business Combination (the “Proxy Statement”). It
 11 stated that, for the period ended March 31, 2021, Owlet recorded $20.534 million
 12 revenue from sales in the United States and $1.377 million from sales
 13 Internationally. The Proxy Statement purported to warn that “the FDA . . . ha[s]
 14 expressed they do not agree with that conclusion [that the Smart Sock is not a
 15 medical device] and could require us to obtain marketing authorization” to sell the
 16 Smart Sock:
 17        If the FDA or any other governmental authority were to require
           clearance, approval, certification or other form of marketing
 18        authorization for the Owlet Smart Sock, or for any other product that
           we sell and which we do not believe requires such clearance,
 19        approval, certification or marketing authorization, we could be
           required to cease selling or recall the product pending receipt of such
 20        clearance, approval, certification or marketing authorization from
           the FDA or such other governmental authority, which can be a
 21        lengthy and time-consuming process, and we may also be subject to
           regulatory enforcement action.
 22
           We currently sell the Owlet Smart Sock, which we market for use by
 23        parents of healthy babies to provide peace of mind, and for which we
           have not sought or obtained any marketing authorization from the FDA
 24        or similar authorization, approval, or certification from any other
           governmental authority. In response to inquiries from the FDA and
 25        regulatory authorities in other jurisdictions regarding the marketing of
           the Owlet Smart Sock, we have communicated our belief that the Owlet
 26        Smart Sock is not a medical device and does not require marketing
           authorization from the FDA or approval/certification from such other
 27        regulatory authorities. However, the FDA and/or certain regulatory
           authorities have expressed they do not agree with that conclusion and
 28        could require us to obtain marketing authorization (or

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   1        approval/certification) to continue to sell the product. For example,
            the Medicines and Healthcare products Regulatory Agency, the
   2        regulatory authority responsible for the UK medical device market, has
            asserted that the Owlet Smart Sock requires (CE mark) certification and
   3        subsequent registration as a medical device in the UK, but has indicated
            they will allow us to continue to market the Owlet Smart Sock until
   4        May 2022 without such certification or registration. Obtaining
            authorization to sell the Owlet Smart Sock as a medical device is a
   5        time-consuming and costly process and we may be precluded from
            selling the Owlet Smart Sock if we are required to obtain marketing
   6        authorization. If granted, a marketing authorization could require
            conditions to sale, for example, a prescription requirement. If the FDA
   7        or other regulatory authorities require such marketing authorization
            (or approval/certification, respectively) for the Owlet Smart Sock, or
   8        for any other product that we sell and which we do not believe
            requires such clearance, approval, certification or marketing
   9        authorization, we could be required to cease selling or recall the
            product in the corresponding jurisdiction pending receipt of
  10        marketing authorization (or approval/certification), which can be a
            lengthy and time-consuming process, and we may also be subject to
  11        regulatory enforcement action. In addition, we may be required to
            modify the product’s functionality or limit our marketing claims for the
  12        product, whether or not we obtain such clearance, approval,
            certification or marketing authorization. In any such event, our business
  13        could be substantially harmed.
  14 (First emphasis in original.)
  15        31.    On August 12, 2021, Owlet announced its second quarter 2021
  16 financial results in a press release, reporting revenue of $24.9 million and gross
  17 margin of 54.2%. The Company also reiterated its full year 2021 guidance of $107
  18 million and gross margin of 54-55%.
  19        32.    The above statements identified in ¶¶ 29-31 were materially false
  20 and/or misleading, and failed to disclose material adverse facts about the Company’s
  21 business, operations, and prospects. Specifically, Defendants failed to disclose to
  22 investors: (1) that Owlet was reasonably likely to be required to obtain marketing
  23 authorization for the Smart Sock because the FDA concluded it was a medical
  24 device; (2) that, as a result, Owlet was reasonably likely to cease commercial
  25 distribution of the Smart Sock in the U.S. until it obtained the requisite approval;
  26 and (3) that, as a result of the foregoing, Defendants’ positive statements about the
  27 Company’s business, operations, and prospects were materially misleading and/or
  28 lacked a reasonable basis.

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   1                       The Business Combination is Completed
   2         33.   On July 15, 2021, Owlet announced that it had completed the Business
   3 Combination in a press release that stated, in relevant part:
   4         Owlet, Inc. (NYSE: OWLT) (“Owlet” or the “Company”), a company
             building a connected and accessible nursery ecosystem that brings
   5         technology and vital data to modern parenting, today announced that it
             has completed its business combination with Sandbridge Acquisition
   6         Corporation. (NYSE: SBG) (“Sandbridge”), a special purpose
             acquisition company. The business combination and concurrent private
   7         placement, which were approved by Sandbridge’s stockholders at its
             special meeting held on July 14, 2021, provide over $135 million to
   8         accelerate the Company’s expansive product pipeline, deepen
             penetration, and expand globally.
   9
                          Disclosures at the End of the Class Period
  10
             34.   On October 4, 2021, Owlet revealed that it had received a warning
  11
       letter from the FDA, which stated that “the Company’s marketing of its Owlet Smart
  12
       Sock product . . . renders [it] a medical device requiring premarket clearance or
  13
       approval from FDA.” Specifically, in a Form 8-K filed with the SEC, Owlet stated:
  14
             On October 1, 2021, Owlet, Inc. (the “Company”) received a Warning
  15         Letter, dated October 1, 2021 (the “Warning Letter”), from the United
             States Food and Drug Administration (“FDA”).
  16
             The Warning Letter asserts that the Company’s marketing of its Owlet
  17         Smart Sock product (the “Smart Sock”) in the United States renders the
             Smart Sock a medical device requiring premarket clearance or approval
  18         from FDA, and that the Company has not obtained such clearance or
             approval in violation of the Federal, Food, Drug, and Cosmetic Act.
  19         The Warning Letter requests that the Company take prompt action to
             address the alleged violations. Among other things, the Warning
  20         Letter requests the Company cease commercial distribution of the
             Smart Sock for uses in measuring blood oxygen saturation and pulse
  21         rate where such metrics are intended to identify or diagnose
             desaturation and bradycardia using an alarm functionality to notify
  22         users that measurements are outside of preset values. The Warning
             Letter also identifies certain marketing claims that FDA believes render
  23         the Smart Sock a medical device.
  24         The Company intends to fully cooperate with FDA to resolve the
             Warning Letter, including through the pursuit of a marketing
  25         authorization application for uses of the Smart Sock identified as
             medical device uses. In addition, the Company plans to issue a timely
  26         response to FDA, and further engage with FDA, regarding
             modifications and marketing changes to the Smart Sock with the goal
  27         of enabling continued commercial distribution of a modified product
             prior to receipt of any such marketing authorization that may be
  28         granted. The Company cannot, however, give any assurances that FDA

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   1        will be satisfied with the Company’s actions taken in response to the
            matters raised in the Warning Letter. The Company also cannot give
   2        any assurances as to the timing of the resolution of such matters.
   3        35.    On this news, Owlet’s stock price fell $1.29, or 23%, to close at $4.19
   4 per share on October 4, 2021, on unusually heavy trading volume. As a result,
   5 Sandbridge investors who could have voted against the Business Combination and
   6 redeemed their shares at $10.00 per share suffered a loss of $5.81 per share.
   7        36.    On October 25, 2021, Owlet stated that it had ceased distribution of the
   8 Smart Sock in the U.S. as of October 22, 2021. The Company stated that the
   9 “suspension is specific to shipments by the Company to customers and retailers in
  10 the United States, and operations in other countries remain unaffected.”
  11                          CLASS ACTION ALLEGATIONS
  12        37.    Plaintiff brings this action as a class action pursuant to Federal Rule of
  13 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
  14 entities: (a) that purchased or otherwise acquired Owlet securities between March
  15 31, 2021 and October 4, 2021, inclusive; and/or (b) held Sandbridge common stock
  16 held as of June 1, 2021 and were eligible to vote at Sandbridge’s special meeting on
  17 July 14, 2021, and who were damaged thereby (the “Class”). Excluded from the
  18 Class are Defendants, the officers and directors of the Company, at all relevant
  19 times, members of their immediate families and their legal representatives, heirs,
  20 successors, or assigns, and any entity in which Defendants have or had a controlling
  21 interest.
  22        38.    The members of the Class are so numerous that joinder of all members
  23 is impracticable. Throughout the Class Period, Owlet’s shares actively traded on the
  24 NYSE. While the exact number of Class members is unknown to Plaintiff at this
  25 time and can only be ascertained through appropriate discovery, Plaintiff believes
  26 that there are at least hundreds or thousands of members in the proposed Class.
  27 Millions of Owlet shares were traded publicly during the Class Period on the NYSE.
  28 Record owners and other members of the Class may be identified from records

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   1 maintained by Owlet or its transfer agent and may be notified of the pendency of
   2 this action by mail, using the form of notice similar to that customarily used in
   3 securities class actions.
   4         39.   Plaintiff’s claims are typical of the claims of the members of the Class
   5 as all members of the Class are similarly affected by Defendants’ wrongful conduct
   6 in violation of federal law that is complained of herein.
   7         40.   Plaintiff will fairly and adequately protect the interests of the members
   8 of the Class and has retained counsel competent and experienced in class and
   9 securities litigation.
  10         41.   Common questions of law and fact exist as to all members of the Class
  11 and predominate over any questions solely affecting individual members of the
  12 Class. Among the questions of law and fact common to the Class are:
  13               (a)    whether the federal securities laws were violated by Defendants’
  14 acts as alleged herein;
  15               (b)    whether statements made by Defendants to the investing public
  16 during the Class Period omitted and/or misrepresented material facts about the
  17 business, operations, and prospects of Owlet; and
  18               (c)    to what extent the members of the Class have sustained damages
  19 and the proper measure of damages.
  20         42.   A class action is superior to all other available methods for the fair and
  21 efficient adjudication of this controversy since joinder of all members is
  22 impracticable. Furthermore, as the damages suffered by individual Class members
  23 may be relatively small, the expense and burden of individual litigation makes it
  24 impossible for members of the Class to individually redress the wrongs done to
  25 them. There will be no difficulty in the management of this action as a class action.
  26                           UNDISCLOSED ADVERSE FACTS
  27         43.   The market for Owlet’s securities was open, well-developed and
  28 efficient at all relevant times. As a result of these materially false and/or misleading

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   1 statements, and/or failures to disclose, Owlet’s securities traded at artificially
   2 inflated prices during the Class Period. Plaintiff and other members of the Class
   3 purchased or otherwise acquired Owlet’s securities relying upon the integrity of the
   4 market price of the Company’s securities and market information relating to Owlet,
   5 and have been damaged thereby.
   6        44.    During the Class Period, Defendants materially misled the investing
   7 public, thereby inflating the price of Owlet’s securities, by publicly issuing false
   8 and/or misleading statements and/or omitting to disclose material facts necessary to
   9 make Defendants’ statements, as set forth herein, not false and/or misleading. The
  10 statements and omissions were materially false and/or misleading because they
  11 failed to disclose material adverse information and/or misrepresented the truth about
  12 Owlet’s business, operations, and prospects as alleged herein.
  13        45.    At all relevant times, the material misrepresentations and omissions
  14 particularized in this Complaint directly or proximately caused or were a substantial
  15 contributing cause of the damages sustained by Plaintiff and other members of the
  16 Class. As described herein, during the Class Period, Defendants made or caused to
  17 be made a series of materially false and/or misleading statements about Owlet’s
  18 financial well-being and prospects. These material misstatements and/or omissions
  19 had the cause and effect of creating in the market an unrealistically positive
  20 assessment of the Company and its financial well-being and prospects, thus causing
  21 the Company’s securities to be overvalued and artificially inflated at all relevant
  22 times. Defendants’ materially false and/or misleading statements during the Class
  23 Period resulted in Plaintiff and other members of the Class purchasing the
  24 Company’s securities at artificially inflated prices, thus causing the damages
  25 complained of herein when the truth was revealed.
  26                                 LOSS CAUSATION
  27        46.    Defendants’ wrongful conduct, as alleged herein, directly and
  28 proximately caused the economic loss suffered by Plaintiff and the Class.

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   1        47.    During the Class Period, Plaintiff and the Class purchased Owlet’s
   2 securities at artificially inflated prices and were damaged thereby. The price of the
   3 Company’s securities significantly declined when the misrepresentations made to
   4 the market, and/or the information alleged herein to have been concealed from the
   5 market, and/or the effects thereof, were revealed, causing investors’ losses.
   6        48.    In addition to the decline in Owlet securities caused by the
   7 aforementioned corrective disclosure, Sandbridge shareholders who were eligible to
   8 vote on the Business Combination and/or exercise their conversion rights have also
   9 been damaged as a result of the materially false and/or misleading statements about
  10 Owlet’s operations and financial results. Had the true financial condition and
  11 operations of Owlet been known, members of the Class eligible to vote on the
  12 Business Combination would have voted against the Business Combination and/or
  13 exercised their conversion rights and received $10.00 in cash per share of
  14 Sandbridge stock.
  15        49.    It was foreseeable to Owlet, the Individual Defendants, and the
  16 Sandbridge Defendants that the false and/or misleading statements about, among
  17 others, the Smart Sock: (i) would cause those members of the Class that would have
  18 received $10.00 in cash per share of Sandbridge stock upon exercising conversion
  19 rights and/or upon liquidation to keep their stock in lieu of receiving $10.00 in cash
  20 per share; and (ii) eventually the disclosure of the information about Owlet’s
  21 financial condition and operation resulted in those members of the Class owning
  22 shares worth substantially less than $10.00 per share.
  23        50.    As a result, Owlet, the Individual Defendants, and the Sandbridge
  24 Defendants’ conduct proximately caused foreseeable losses to those Plaintiffs and
  25 members of the Class.
  26                             SCIENTER ALLEGATIONS
  27        51.    As alleged herein, Defendants acted with scienter since Defendants
  28 knew that the public documents and statements issued or disseminated in the name

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   1 of the Company were materially false and/or misleading; knew that such statements
   2 or documents would be issued or disseminated to the investing public; and
   3 knowingly and substantially participated or acquiesced in the issuance or
   4 dissemination of such statements or documents as primary violations of the federal
   5 securities laws. As set forth elsewhere herein in detail, the Individual Defendants,
   6 by virtue of their receipt of information reflecting the true facts regarding Owlet,
   7 their control over, and/or receipt and/or modification of Owlet’s allegedly materially
   8 misleading misstatements and/or their associations with the Company which made
   9 them privy to confidential proprietary information concerning Owlet, participated in
  10 the fraudulent scheme alleged herein.
  11               APPLICABILITY OF PRESUMPTION OF RELIANCE
  12                      (FRAUD-ON-THE-MARKET DOCTRINE)
  13         52.    The market for Owlet’s securities was open, well-developed and
  14 efficient at all relevant times. As a result of the materially false and/or misleading
  15 statements and/or failures to disclose, Owlet’s securities traded at artificially inflated
  16 prices during the Class Period. On August 13, 2021, the Company’s share price
  17 closed at a Class Period high of $10.32 per share. Plaintiff and other members of the
  18 Class purchased or otherwise acquired the Company’s securities relying upon the
  19 integrity of the market price of Owlet’s securities and market information relating to
  20 Owlet, and have been damaged thereby.
  21         53.    During the Class Period, the artificial inflation of Owlet’s shares was
  22 caused by the material misrepresentations and/or omissions particularized in this
  23 Complaint causing the damages sustained by Plaintiff and other members of the
  24 Class. As described herein, during the Class Period, Defendants made or caused to
  25 be made a series of materially false and/or misleading statements about Owlet’s
  26 business, prospects, and operations. These material misstatements and/or omissions
  27 created an unrealistically positive assessment of Owlet and its business, operations,
  28 and prospects, thus causing the price of the Company’s securities to be artificially

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   1 inflated at all relevant times, and when disclosed, negatively affected the value of
   2 the Company shares. Defendants’ materially false and/or misleading statements
   3 during the Class Period resulted in Plaintiff and other members of the Class
   4 purchasing the Company’s securities at such artificially inflated prices, and each of
   5 them has been damaged as a result.
   6          54.   At all relevant times, the market for Owlet’s securities was an efficient
   7 market for the following reasons, among others:
   8                (a)   Owlet shares met the requirements for listing, and was listed and
   9 actively traded on the NYSE, a highly efficient and automated market;
  10                (b)   As a regulated issuer, Owlet filed periodic public reports with the
  11 SEC and/or the NYSE;
  12                (c)   Owlet regularly communicated with public investors via
  13 established market communication mechanisms, including through regular
  14 dissemination of press releases on the national circuits of major newswire services
  15 and through other wide-ranging public disclosures, such as communications with the
  16 financial press and other similar reporting services; and/or
  17                (d)   Owlet was followed by securities analysts employed by
  18 brokerage firms who wrote reports about the Company, and these reports were
  19 distributed to the sales force and certain customers of their respective brokerage
  20 firms.     Each of these reports was publicly available and entered the public
  21 marketplace.
  22          55.   As a result of the foregoing, the market for Owlet’s securities promptly
  23 digested current information regarding Owlet from all publicly available sources and
  24 reflected such information in Owlet’s share price. Under these circumstances, all
  25 purchasers of Owlet’s securities during the Class Period suffered similar injury
  26 through their purchase of Owlet’s securities at artificially inflated prices and a
  27 presumption of reliance applies.
  28

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   1        56.    A Class-wide presumption of reliance is also appropriate in this action
   2 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United
   3 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded
   4 on Defendants’ material misstatements and/or omissions.          Because this action
   5 involves Defendants’ failure to disclose material adverse information regarding the
   6 Company’s business operations and financial prospects—information that
   7 Defendants were obligated to disclose—positive proof of reliance is not a
   8 prerequisite to recovery. All that is necessary is that the facts withheld be material
   9 in the sense that a reasonable investor might have considered them important in
  10 making investment decisions. Given the importance of the Class Period material
  11 misstatements and omissions set forth above, that requirement is satisfied here.
  12                                 NO SAFE HARBOR
  13        57.    The statutory safe harbor provided for forward-looking statements
  14 under certain circumstances does not apply to any of the allegedly false statements
  15 pleaded in this Complaint. The statements alleged to be false and misleading herein
  16 all relate to then-existing facts and conditions. In addition, to the extent certain of
  17 the statements alleged to be false may be characterized as forward looking, they
  18 were not identified as “forward-looking statements” when made and there were no
  19 meaningful cautionary statements identifying important factors that could cause
  20 actual results to differ materially from those in the purportedly forward-looking
  21 statements. In the alternative, to the extent that the statutory safe harbor is
  22 determined to apply to any forward-looking statements pleaded herein, Defendants
  23 are liable for those false forward-looking statements because at the time each of
  24 those forward-looking statements was made, the speaker had actual knowledge that
  25 the forward-looking statement was materially false or misleading, and/or the
  26 forward-looking statement was authorized or approved by an executive officer of
  27 Owlet who knew that the statement was false when made.
  28

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   1                                       FIRST CLAIM
   2                 Violation of Section 10(b) of The Exchange Act and
   3                         Rule 10b-5 Promulgated Thereunder
   4                                 Against All Defendants
   5         58.   Plaintiff repeats and re-alleges each and every allegation contained
   6 above as if fully set forth herein.
   7         59.   During the Class Period, Defendants carried out a plan, scheme and
   8 course of conduct which was intended to and, throughout the Class Period, did: (i)
   9 deceive the investing public, including Plaintiff and other Class members, as alleged
  10 herein; and (ii) cause Plaintiff and other members of the Class to purchase Owlet’s
  11 securities at artificially inflated prices. In furtherance of this unlawful scheme, plan
  12 and course of conduct, Defendants, and each defendant, took the actions set forth
  13 herein.
  14         60.   Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
  15 made untrue statements of material fact and/or omitted to state material facts
  16 necessary to make the statements not misleading; and (iii) engaged in acts, practices,
  17 and a course of business which operated as a fraud and deceit upon the purchasers of
  18 the Company’s securities in an effort to maintain artificially high market prices for
  19 Owlet’s securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5.
  20 All Defendants are sued either as primary participants in the wrongful and illegal
  21 conduct charged herein or as controlling persons as alleged below.
  22         61.   Defendants, individually and in concert, directly and indirectly, by the
  23 use, means or instrumentalities of interstate commerce and/or of the mails, engaged
  24 and participated in a continuous course of conduct to conceal adverse material
  25 information about Owlet’s financial well-being and prospects, as specified herein.
  26         62.   Defendants employed devices, schemes and artifices to defraud, while
  27 in possession of material adverse non-public information and engaged in acts,
  28 practices, and a course of conduct as alleged herein in an effort to assure investors of

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   1 Owlet’s value and performance and continued substantial growth, which included
   2 the making of, or the participation in the making of, untrue statements of material
   3 facts and/or omitting to state material facts necessary in order to make the
   4 statements made about Owlet and its business operations and future prospects in
   5 light of the circumstances under which they were made, not misleading, as set forth
   6 more particularly herein, and engaged in transactions, practices and a course of
   7 business which operated as a fraud and deceit upon the purchasers of the Company’s
   8 securities during the Class Period.
   9         63.   Each of the Individual Defendants’ primary liability and controlling
  10 person liability arises from the following facts: (i) the Individual Defendants were
  11 high-level executives and/or directors at the Company during the Class Period and
  12 members of the Company’s management team or had control thereof; (ii) each of
  13 these defendants, by virtue of their responsibilities and activities as a senior officer
  14 and/or director of the Company, was privy to and participated in the creation,
  15 development and reporting of the Company’s internal budgets, plans, projections
  16 and/or reports; (iii) each of these defendants enjoyed significant personal contact
  17 and familiarity with the other defendants and was advised of, and had access to,
  18 other members of the Company’s management team, internal reports and other data
  19 and information about the Company’s finances, operations, and sales at all relevant
  20 times; and (iv) each of these defendants was aware of the Company’s dissemination
  21 of information to the investing public which they knew and/or recklessly
  22 disregarded was materially false and misleading.
  23         64.   Defendants had actual knowledge of the misrepresentations and/or
  24 omissions of material facts set forth herein, or acted with reckless disregard for the
  25 truth in that they failed to ascertain and to disclose such facts, even though such
  26 facts were available to them. Such defendants’ material misrepresentations and/or
  27 omissions were done knowingly or recklessly and for the purpose and effect of
  28 concealing Owlet’s financial well-being and prospects from the investing public and

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   1 supporting the artificially inflated price of its securities. As demonstrated by
   2 Defendants’ overstatements and/or misstatements of the Company’s business,
   3 operations, financial well-being, and prospects throughout the Class Period,
   4 Defendants, if they did not have actual knowledge of the misrepresentations and/or
   5 omissions alleged, were reckless in failing to obtain such knowledge by deliberately
   6 refraining from taking those steps necessary to discover whether those statements
   7 were false or misleading.
   8        65.    As a result of the dissemination of the materially false and/or
   9 misleading information and/or failure to disclose material facts, as set forth above,
  10 the market price of Owlet’s securities was artificially inflated during the Class
  11 Period. In ignorance of the fact that market prices of the Company’s securities were
  12 artificially inflated, and relying directly or indirectly on the false and misleading
  13 statements made by Defendants, or upon the integrity of the market in which the
  14 securities trades, and/or in the absence of material adverse information that was
  15 known to or recklessly disregarded by Defendants, but not disclosed in public
  16 statements by Defendants during the Class Period, Plaintiff and the other members
  17 of the Class acquired Owlet’s securities during the Class Period at artificially high
  18 prices and were damaged thereby.
  19        66.    At the time of said misrepresentations and/or omissions, Plaintiff and
  20 other members of the Class were ignorant of their falsity, and believed them to be
  21 true. Had Plaintiff and the other members of the Class and the marketplace known
  22 the truth regarding the problems that Owlet was experiencing, which were not
  23 disclosed by Defendants, Plaintiff and other members of the Class would not have
  24 purchased or otherwise acquired their Owlet securities, or, if they had acquired such
  25 securities during the Class Period, they would not have done so at the artificially
  26 inflated prices which they paid.
  27        67.    By virtue of the foregoing, Defendants violated Section 10(b) of the
  28 Exchange Act and Rule 10b-5 promulgated thereunder.

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   1        68.    As a direct and proximate result of Defendants’ wrongful conduct,
   2 Plaintiff and the other members of the Class suffered damages in connection with
   3 their respective purchases and sales of the Company’s securities during the Class
   4 Period.
   5                                       SECOND CLAIM
   6                    Violation of Section 20(a) of The Exchange Act
   7                           Against the Individual Defendants
   8        69.    Plaintiff repeats and re-alleges each and every allegation contained
   9 above as if fully set forth herein.
  10        70.    Individual Defendants acted as controlling persons of Owlet within the
  11 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
  12 high-level positions and their ownership and contractual rights, participation in,
  13 and/or awareness of the Company’s operations and intimate knowledge of the false
  14 financial statements filed by the Company with the SEC and disseminated to the
  15 investing public, Individual Defendants had the power to influence and control and
  16 did influence and control, directly or indirectly, the decision-making of the
  17 Company, including the content and dissemination of the various statements which
  18 Plaintiff contends are false and misleading. Individual Defendants were provided
  19 with or had unlimited access to copies of the Company’s reports, press releases,
  20 public filings, and other statements alleged by Plaintiff to be misleading prior to
  21 and/or shortly after these statements were issued and had the ability to prevent the
  22 issuance of the statements or cause the statements to be corrected.
  23        71.    In particular, Individual Defendants had direct and supervisory
  24 involvement in the day-to-day operations of the Company and, therefore, had the
  25 power to control or influence the particular transactions giving rise to the securities
  26 violations as alleged herein, and exercised the same.
  27        72.    As set forth above, Owlet and Individual Defendants each violated
  28 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this

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   1 Complaint. By virtue of their position as controlling persons, Individual Defendants
   2 are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate
   3 result of Defendants’ wrongful conduct, Plaintiff and other members of the Class
   4 suffered damages in connection with their purchases of the Company’s securities
   5 during the Class Period.
   6                                       THIRD CLAIM
   7                    Violation of Section 14(a) of the Exchange Act
   8     Against Owlet, the Individual Defendants, and the Sandbridge Defendants
   9         73.    Plaintiff repeats and realleges each and every allegation contained
  10 above as if fully set forth herein.
  11         74.    The claims set forth herein do not sound in fraud and are based on
  12 negligent conduct by the Defendants named herein (the “Section 14 Defendants”).
  13         75.    The Section 14 Defendants violated Section 14(a) of the Exchange Act
  14 and Rule 14a-9 thereunder in that these Defendants solicited proxies from Plaintiff
  15 and other members of the Class by means of a proxy statement that, through
  16 Defendants’ negligence, contained statements which, at the time and in light of the
  17 circumstances under which they were made, were false and misleading with respect
  18 to material facts, and omitted to state material facts necessary in order to make the
  19 statements therein not false or misleading.
  20         76.    Plaintiff and other members of the Class were misled by the Section 14
  21 Defendants’ false and misleading statements and omissions, were denied the
  22 opportunity to make an informed decision in voting on the merger, and approved the
  23 merger without having been advised of material facts. Accordingly, Plaintiff and
  24 other members of the Class did not receive their fair share of the value of the assets
  25 and business of the combined entity, suffered damages when the Company’s stock
  26 price decreased, and were prevented from benefiting from a value-maximizing
  27 transaction.
  28

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   1                                PRAYER FOR RELIEF
   2        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
   3        (a)    Determining that this action is a proper class action under Rule 23 of
   4 the Federal Rules of Civil Procedure;
   5        (b)    Awarding compensatory damages in favor of Plaintiff and the other
   6 Class members against all defendants, jointly and severally, for all damages
   7 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,
   8 including interest thereon;
   9        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
  10 incurred in this action, including counsel fees and expert fees; and
  11        (d)    Such other and further relief as the Court may deem just and proper.
  12                               JURY TRIAL DEMANDED
  13        Plaintiff hereby demands a trial by jury.
  14
  15 DATED: November 17, 2021             GLANCY PRONGAY & MURRAY LLP
  16
                                          By: /s/ Pavithra Rajesh
  17                                      Robert V. Prongay
  18                                      Charles Linehan
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               Michael J. Butala 's Transactions in Owlet, Inc. (OWLT)
                Date     Transaction Type       Quantity        Unit Price
             7/28/2021        Bought                50           $9.5400
